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 11 Attorneys for Plaintiff THERABODY, INC.
 12                                UNITED STATES DISTRICT COURT
 13                              CENTRAL DISTRICT OF CALIFORNIA
 14                                        WESTERN DIVISION
 15
 16 THERABODY, INC., a Delaware                         Case No. 2:22-cv-00618
    corporation,,
 17                                                     COMPLAINT FOR:
                  Plaintiff,
 18                                                     INFRINGEMENT OF U.S. PATENT
           v.                                           NOS. 10,702,448; 10,918,565;
 19                                                     11,160,722;
    TJX COMPANIES, INC., a Delaware
 20 corporation, and DOES 1 through 10,                 DEMAND FOR JURY TRIAL
    inclusive,
 21
                  Defendants.
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 23
                   Plaintiff Therabody, Inc. ("Therabody") files this complaint against
 24
      defendants TJX Companies, Inc. ("TJX") and Does 1-10, inclusive (collectively
 25
      "Defendants").
 26
                                              THE PARTIES
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                   1.    Therabody is, and at all times relevant hereto was, a corporation duly
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  1 organized and existing under the laws of the state of Delaware, with its principal place
  2 of business at 6100 Wilshire Blvd., Ste. 200, Los Angeles, CA 90048.
  3                2.   Therabody is informed and believes and, based thereon, alleges that
  4 defendant TJX Companies, Inc. is a Delaware corporation with places of business
  5 within this District.
  6                3.   Therabody is ignorant of the true names and capacities of Defendants
  7 sued herein as Does 1 through 10, inclusive, and therefore sues these Defendants by
  8 such fictitious names and capacities. Therabody will amend this Complaint to allege
  9 their true names and capacities when ascertained, along with the appropriate
 10 charging allegations.
 11                4.   Therabody is informed and believes and thereon alleges that
 12 Defendants are manufacturing, using, selling, or offering for sale within the United
 13 States, or importing into the United States the infringing percussive massage devices
 14 described below.
 15                5.   Therabody is informed and believes and thereon alleges that each of the
 16 Defendants conspired and acted in concert with one or more other Defendants to
 17 commit the wrongs against Therabody alleged herein, and in doing so were at all
 18 relevant times the agents, servants, employees, principals, joint venturers, alter egos,
 19 and/or partners of each other. Therabody is further informed and believes and on
 20 that basis alleges that, in doing the things alleged in this Complaint, each of the
 21 Defendants was acting within the scope of authority conferred upon that Defendant
 22 by the consent, approval, and/or ratification of one or more of the other Defendants.
 23                                  JURISDICTION AND VENUE
 24                6.   This is an action for patent infringement under the patent laws of the
 25 United States, 35 U.S.C. § 271.
 26                7.   This Court has subject matter jurisdiction over the patent claims
 27 pursuant to 28 U.S.C. § 1338.
 28                8.   This Court has personal jurisdiction over Defendants and venue is

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  1 proper in this District pursuant to 28 U.S.C. § 1391(b) and § 1400(b). Therabody is
  2 informed and believes and, based thereon, alleges that, Defendant TJX has regular
  3 places of business in this District, and that Defendant TJX has committed acts of
  4 infringement in this District, including the distribution, promoting, marketing,
  5 selling, offering for sale, importing, and/or advertising their infringing products in or
  6 to this District and/or to businesses and individuals in this District. Therabody is
  7 further informed and believes and, based thereon, alleges that Defendants derive
  8 substantial revenue from the distribution, promotion, marketing, sale, offer for sale,
  9 or import of infringing products in or to this District. Finally, Defendants infringing
 10 acts are causing harm to Therabody, a resident of this District.
 11                                   GENERAL ALLEGATIONS
 12                9.    Therabody is in the business of developing, manufacturing, and selling
 13 high-quality, innovative percussive therapy devices and attachments therefor.
 14 Therabody invests considerable time, effort and money in developing and protecting
 15 its intellectual property, including patenting its innovative products.
 16                11.   Therabody is the owner of United States Patent Number 10,702,448
 17 entitled "Percussive Massage Device and Method of Use" (hereinafter the '448
 18 Patent), issued on July 7, 2020. A true and correct copy of the '448 Patent is
 19 attached hereto as Exhibit A.
 20                12.   The ‘448 Patent pertains to a vibrating massage device or percussive
 21 massage device that provides reciprocating motion. The ‘448 Patent is presumed to
 22 be valid and is prima facie proof that the inventions claimed in the ‘448 Patent are
 23 novel and non-obvious.
 24                13.   Therabody is the owner of United States Patent Number 10,918,565,
 25 entitled “Percussive massage device and method of use” (hereinafter the '565
 26 Patent”), issued on February 16, 2021. A true and correct copy of the '565 Patent is
 27 attached hereto as Exhibit B.
 28                14.   The ‘565 Patent pertains to a vibrating massage device or percussive

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  1 massage device that provides reciprocating motion. The ‘565 Patent is presumed to
  2 be valid and is prima facie proof that the inventions claimed in the ‘565 Patent are
  3 novel and non-obvious.
  4                15.   Therabody is the owner of United States Patent Number 11,160,722,
  5 entitled “Percussive Therapy Device and Method of Use” (hereinafter the ‘722
  6 Patent”), issued on November 2, 2021. A true and correct copy of the ’722 Patent is
  7 attached hereto as Exhibit C.
  8                16.   The ‘722 Patent pertains to a vibrating massage device or percussive
  9 massage device and method of use. The ‘722 Patent is presumed to be valid and is
 10 prima facie proof that the inventions claimed in the ‘722 Patent are novel and non-
 11 obvious. The ‘448, ‘565 and ‘722 Patents are hereafter “Asserted Patents.”
 12                17.   Therabody’s patented and patent-pending devices are innovative and
 13 have received industry praise and recognition, including the 2019 A’ Design Award
 14 in Digital and Electronic Devices Design for its Therabody G3PRO design.
 15                                        Defendants’ Conduct
 16                18.   On or about December of 2021, Therabody became aware of
 17 Defendants’ Infringing Product (shown below) through sales at Defendant’s
 18 HomeGoods retail store. On December 22, 2021, Therabody sent a cease-and-desist
 19 letter demanding that Defendant TJX immediately ends their manufacture, offer for
 20 sale, sale, use and importation of the Infringing Product. Since then, Therabody has
 21 seen the Infringing Product promoted and offered for sale in a number of Defendant
 22 TJX’s retail stores, including HomeGoods and TJ Maxx.
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 12                19.   Defendant TJX has been on notice of Therabody’s patents at least since
 13 July of 2021, but despite such notice continues to repeatedly offer for sale and sell
 14 infringing products, including the Infringing Product.
 15                                    FIRST CAUSE OF ACTION
 16                  Patent Infringement of the ‘448 Patent, 35 U.S.C. §§ 101 et seq.
 17                                          (Against All Defendants)
 18                20.   Therabody realleges and incorporates by reference all foregoing
 19 paragraphs as if fully set forth herein.
 20                21.   At all times herein mentioned the ‘448 Patent was and is valid and fully
 21 enforceable.
 22                22.   Defendants are offering percussive massage devices that infringe at
 23 least claim 6 of the ‘448 Patent, including at least the Infringing Product.
 24                23.   Defendants' Infringing Product is a percussive massage device.
 25                24.   As shown below, the Infringing Product includes a housing wherein the
 26 housing includes first, second and third handle portions that cooperate to at least
 27 partially define a handle opening.
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 11                25.   As shown below, Defendants' Infringing Product includes a first handle
 12 portion that defines a first axis, a second handle portion defines a second axis and a
 13 third handle portion defines a third axis, and wherein the first, second and third axes
 14 cooperate to form a triangle.
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 23                26.   As shown above, the Infringing Product includes that the first handle
 24 portion is generally straight, the second handle portion is generally straight, and that
 25 the third handle portion is generally straight, such that a user can grasp any of the
 26 first, second or third handle portions independently to use the percussive massage
 27 device.
 28                27.   The Infringing Product includes an electrical source, a motor positioned

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  1 in the housing, a switch for activating the motor, and a push rod assembly
  2 operatively connected to the motor and configured to reciprocate in response to
  3 activation of the motor.
  4                28.   On information and belief, at least since Plaintiff’s December 22, 2021
  5 notification to Defendants, Defendants have knowingly and actively induced the
  6 infringement of one or more of the ’448 Patent claims by, inter alia, marketing,
  7 promoting, and offering for use the Infringing Product, knowingly and intending
  8 that the use of the Infringing Product by Defendants’ customers and by users
  9 infringes the ’448 Patent. For example, Defendants intend to induce such
 10 infringement by, among other things, promoting users to purchase and use the
 11 Infringing Product knowing that its purchase and use infringes one or more claims
 12 of the ’448 Patent.
 13                29.   On information and belief, at least since Plaintiff’s December 22, 2021
 14 notification to Defendants, Defendants have contributed to the infringement of the
 15 ‘448 Patent by their customers and users of the Infringing Product by, inter alia,
 16 making, offering to sell, selling and/or importing into the United States, a
 17 component of a patented machine, manufacture or combination, or an apparatus for
 18 use in practicing a patented process, constituting a material part of the invention,
 19 knowing the same to be especially made or especially adapted for use in infringing
 20 the ‘448 Patent. The Infringing Product is not a staple article or commodity of
 21 commerce suitable for substantial non-infringing use and is known by Defendants to
 22 be especially made or especially adapted to the infringe the ‘448 Patent. As a result,
 23 Defendants’ Infringing Product has been used by its customers and by users to
 24 infringe the ‘448 Patent. Defendants continue to engage in acts of contributory
 25 infringement of the ‘448 Patent even after receiving notice of its contributory
 26 infringement.
 27                30.   Defendants infringe literally or under the doctrine of equivalents, or
 28 both.

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  1                31.   At no time has Therabody granted Defendants authorization, license, or
  2 permission to utilize the inventions claimed in the ‘448 Patent.
  3                32.   Therabody has been damaged by Defendants’ acts of infringement of
  4 the ‘448 Patent and Therabody will continue to be damaged by such infringement
  5 unless enjoined by this Court. Therabody is entitled to recover damages adequate to
  6 compensate for the infringement under 35 U.S.C. § 284.
  7                33.   Therabody is, and has been, irreparably harmed by Defendants’ on-
  8 going infringement including the following harm which cannot be quantified or
  9 recouped through monetary damages: (1) lost market share that will be difficult, if
 10 not impossible, to recoup later as the Infringing Product becomes entrenched with
 11 retail sellers and trainers who recommend them to their clients, (2) loss of first
 12 mover advantage that Therabody enjoyed as the first company to offer its innovative
 13 percussive devices and patented attachments, (3) loss of Therabody’s investment in
 14 developing the market for percussive devices and its patented attachments,
 15 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
 16 effect on lost sales of related products, (6) price erosion due to Defendants’
 17 Infringing Product being sold at a price point lower than Therabody’s patented
 18 products, (7) diversion of resources to defend against loss of market share caused by
 19 sales of the Infringing Product, and (8) Defendants’ unauthorized sales that are
 20 enticing others to offer for sale and sell infringing attachments that leads to
 21 additional irreparable harm described above.
 22                34.   Defendants’ acts of infringement, including continuing the infringing
 23 activities after receiving notice of Defendants’ direct and indirect infringement, have
 24 been, and continue to be, willful and deliberate and therefore warrant the award of
 25 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
 26 pursuant to 35 U.S.C. § 284.
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  1                                  SECOND CAUSE OF ACTION
  2                  Patent Infringement of the ‘565 Patent, 35 U.S.C. §§ 101 et seq.
  3                                          (Against All Defendants)
  4                35.   Therabody realleges and incorporates by reference all foregoing
  5 paragraphs as if fully set forth herein.
  6                36.   At all times herein mentioned the ‘565 Patent was and is valid and fully
  7 enforceable.
  8                37.   Defendants are offering percussive massage devices that infringe at
  9 least claim 6 of the ‘565 Patent, including at least the Infringing Product.
 10                38.   Defendants' Infringing Product is a percussive massage device.
 11                39.   As shown below, the Infringing Product includes a housing wherein the
 12 housing includes first, second and third handle portions that cooperate to at least
 13 partially define a handle opening.
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 24                40.   As shown below, Defendants' Infringing Product includes a first handle
 25 portion that defines a first axis, a second handle portion defines a second axis and a
 26 third handle portion defines a third axis, and wherein the first, second and third axes
 27 cooperate to form a triangle.
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   7                41.   As shown above, the Infringing Product includes that the first handle
   8 portion is generally straight, the second handle portion is generally straight, and that
   9 the third handle portion is generally straight, such that a user can grasp any of the
  10 first, second or third handle portions independently to use the percussive massage
  11 device.
  12                42.   The Infringing Product includes an electrical source, a motor positioned
  13 in the housing, a switch for activating the motor, and a push rod assembly
  14 operatively connected to the motor and configured to reciprocate in response to
  15 activation of the motor.
  16                43.   On information and belief, at least since Plaintiff’s December 22, 2021
  17 notification to Defendants, Defendants have knowingly and actively induced the
  18 infringement of one or more of the ’565 Patent claims by, inter alia, marketing,
  19 promoting, and offering for use the Infringing Product, knowingly and intending
  20 that the use of the Infringing Product by Defendants’ customers and by users
  21 infringes the ’565 Patent. For example, Defendants intend to induce such
  22 infringement by, among other things, promoting users to purchase and use the
  23 Infringing Product knowing that its purchase and use infringes one or more claims
  24 of the ’565 Patent.
  25                44.   On information and belief, at least since Plaintiff’s December 22, 2021
  26 notification to Defendants, Defendants have contributed to the infringement of the
  27 ‘565 Patent by their customers and users of the Infringing Product by, inter alia,
  28 making, offering to sell, selling and/or importing into the United States, a

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   1 component of a patented machine, manufacture or combination, or an apparatus for
   2 use in practicing a patented process, constituting a material part of the invention,
   3 knowing the same to be especially made or especially adapted for use in infringing
   4 the ‘565 Patent. The Infringing Product is not a staple article or commodity of
   5 commerce suitable for substantial non-infringing use and is known by Defendants to
   6 be especially made or especially adapted to the infringe the ‘565 Patent. As a result,
   7 Defendants’ Infringing Product has been used by its customers and by users to
   8 infringe the ‘565 Patent. Defendants continue to engage in acts of contributory
   9 infringement of the ‘565 Patent even after receiving notice of its contributory
  10 infringement.
  11                45.   Defendants infringe literally or under the doctrine of equivalents, or
  12 both.
  13                46.   At no time has Therabody granted Defendants authorization, license, or
  14 permission to utilize the inventions claimed in the ‘565 Patent.
  15                47.   Therabody has been damaged by Defendants’ acts of infringement of
  16 the ‘565 Patent and Therabody will continue to be damaged by such infringement
  17 unless enjoined by this Court. Therabody is entitled to recover damages adequate to
  18 compensate for the infringement under 35 U.S.C. § 284.
  19                48.   Therabody is, and has been, irreparably harmed by Defendants’ on-
  20 going infringement including the following harm which cannot be quantified or
  21 recouped through monetary damages: (1) lost market share that will be difficult, if
  22 not impossible, to recoup later as the Infringing Product becomes entrenched with
  23 retail sellers and trainers who recommend them to their clients, (2) loss of first
  24 mover advantage that Therabody enjoyed as the first company to offer its innovative
  25 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  26 developing the market for percussive devices and its patented attachments,
  27 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
  28 effect on lost sales of related products, (6) price erosion due to Defendants’

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   1 Infringing Product being sold at a price point lower than Therabody’s patented
   2 products, (7) diversion of resources to defend against loss of market share caused by
   3 sales of the Infringing Product, and (8) Defendants’ unauthorized sales that are
   4 enticing others to offer for sale and sell infringing attachments that leads to
   5 additional irreparable harm described above.
   6                49.   Defendants’ acts of infringement, including continuing the infringing
   7 activities after receiving notice of Defendants’ direct and indirect infringement, have
   8 been, and continue to be, willful and deliberate and therefore warrant the award of
   9 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  10 pursuant to 35 U.S.C. § 284.
  11                                   THIRD CAUSE OF ACTION
  12                  Patent Infringement of the ’722 Patent, 35 U.S.C. §§ 101 et seq.
  13                                       (Against All Defendants)
  14                50.   Therabody realleges and incorporates by reference all foregoing para-
  15 graphs as if fully set forth herein.
  16                51.   At all times herein mentioned the ’722 Patent was and is valid and fully
  17 enforceable.
  18                52.   Defendants are offering percussive massage devices that infringe at
  19 least claim 12 of the ’722 Patent, including at least the Infringing Product.
  20                53.   The Infringing Product is a percussive massage device.
  21                54.   As shown below, the Infringing Product includes a housing, wherein
  22 the housing includes first, second and third handle portions that cooperate to at least
  23 partially define a handle opening, wherein the first handle portion includes a first
  24 handle portion exterior edge, wherein the second handle portion includes a second
  25 handle portion exterior edge, wherein the third handle portion includes a third
  26 handle portion exterior edge, wherein the first handle portion exterior edge defines a
  27 first handle portion exterior edge extended, wherein the second handle portion
  28 exterior edge defines a second handle portion exterior edge extended, wherein the

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   1 third handle portion exterior edge defines a third handle portion exterior edge
   2 extended.
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  13                55.   As shown below, the Infringing Product includes first, second and third
  14 exterior edges extended cooperate to define a triangle that surrounds the handle
  15 opening, such that a user can grasp any of the first, second or third handle portions
  16 independently to use the percussive massage device.
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  24                56.   The Infringing Product includes an electrical source, a motor positioned
  25 in the housing, a switch for activating the motor, and a push rod assembly
  26 operatively connected to the motor and configured to reciprocate in response to
  27 activation of the motor.
  28                57.   As shown above, the Infringing Product includes the first handle

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   1 portion exterior edge is generally straight, wherein the second handle portion
   2 exterior edge is generally straight, and wherein the third handle portion exterior
   3 edge is generally straight.
   4                58.   Defendants’ infringe literally or under the doctrine of equivalents, or
   5 both.
   6                59.   On information and belief, at least since Plaintiff’s December 22, 2021
   7 notification to Defendants, Defendants have knowingly and actively induced the
   8 infringement of one or more of the ’722 Patent claims by, inter alia, marketing,
   9 promoting, and offering for use the Infringing Product, knowingly and intending
  10 that the use of the Infringing Product by Defendants’ customers and by users
  11 infringes the ’722 Patent. For example, Defendants intend to induce such
  12 infringement by, among other things, promoting users to purchase and use the
  13 Infringing Product knowing that its purchase and use infringes one or more claims
  14 of the ’722 Patent.
  15                60.   On information and belief, at least since Plaintiff’s December 22, 2021
  16 notification to Defendants, Defendants have contributed to the infringement of the
  17 ’722 Patent by their customers and users of the Infringing Product by, inter alia,
  18 making, offering to sell, selling and/or importing into the United States, a
  19 component of a patented machine, manufacture or combination, or an apparatus for
  20 use in practicing a patented process, constituting a material part of the invention,
  21 knowing the same to be especially made or especially adapted for use in infringing
  22 the ’722 Patent. The Infringing Product is not a staple article or commodity of
  23 commerce suitable for substantial non-infringing use and is known by Defendants to
  24 be especially made or especially adapted to the infringe the ’722 Patent. As a result,
  25 Defendants’ Infringing Product has been used by its customers and by users to
  26 infringe the ’722 Patent. Defendants continue to engage in acts of contributory
  27 infringement of the ’722 Patent even after receiving notice of its contributory
  28 infringement.

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   1                61.   At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the ’722 Patent.
   3                62.   Therabody has been damaged by Defendants’ acts of infringement of
   4 the ’722 Patent and Therabody will continue to be damaged by such infringement
   5 unless enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                63.   Therabody is, and has been, irreparably harmed by Defendants’ on-
   8 going infringement including the following harm which cannot be quantified or
   9 recouped through monetary damages: (1) lost market share that will be difficult, if
  10 not impossible, to recoup later as the Infringing Product becomes en-trenched with
  11 retail sellers and trainers who recommend them to their clients, (2) loss of first
  12 mover advantage that Therabody enjoyed as the first company to offer its innovative
  13 and patented percussive devices, (3) loss of Therabody’s investment in developing
  14 the market for percussive devices, (4) negative effect on its reputation as innovator
  15 and pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price
  16 erosion due to Defendants’ Infringing Product being sold at a price point lower than
  17 Therabody’s patented products, (7) diversion of resources to defend against loss of
  18 market share caused by sales of the Infringing Product, and (8) Defendants’
  19 unauthorized sales that are enticing others to offer for sale and sell infringing
  20 attachments that leads to additional irreparable harm described above.
  21                64.   Defendants’ acts of infringement have been, and continue to be, willful
  22 and de-liberate and therefore warrant the award of attorneys’ fees pursuant to 35
  23 U.S.C. § 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284
  24                                      PRAYER FOR RELIEF
  25                WHEREFORE, Therabody prays for judgment as follows:
  26                A.    A judgment that Defendants are liable on all causes of action alleged
  27 herein;
  28                B.    For an order requiring Defendants to account for all gains, profits,

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   1 unjust enrichment, and other advantages derived from their breach of the Settlement
   2 Agreement;
   3                C.   For an order awarding Therabody is attorneys’ fees and costs as the
   4 prevailing party pursuant to the terms of the Settlement Agreement;
   5                D.   For an order finding that the Asserted Patents are valid and enforceable;
   6                E.   For an order finding that Defendants have infringed the Asserted
   7 Patents directly, contributorily, and/or by inducement, literally or by equivalents, in
   8 violation of 35 U.S.C. § 271;
   9                F.   For an order temporarily, preliminarily and permanently enjoining
  10 Defendants, their officers, directors, agents, servants, affiliates, employees,
  11 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
  12 others acting in concert or participation with any of them, from further breaching the
  13 Settlement Agreement and infringing the Asserted Patents directly, contributorily
  14 and/or by inducement, or otherwise engaging in acts of unfair competition;
  15                G.   For a judgment directing that any products in the possession, custody or
  16 control of Defendants which infringe the Asserted Patents be delivered up and
  17 destroyed within 30 days of entry of judgment;
  18                H.   For a judgment directing Defendants to recall all such infringing
  19 products and any other materials sold, distributed, advertised or marketed which
  20 infringe the Asserted Patents;
  21                I.   For an order directing Defendants to file with the Court, and serve upon
  22 Therabody’s counsel, within thirty (30) days after entry of the order of injunction, a
  23 report setting forth the manner and form in which each of them has complied with
  24 the injunction;
  25                J.   For an order finding that Defendants’ conduct alleged herein was
  26 willful and intentional and in conscious disregard of Therabody’s rights;
  27                K.   For compensatory damages in an amount to be proven at trial,
  28 including compensatory damages, lost profits and/or reasonable royalty, in amounts

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   1 to be fixed by the Court in accordance with proof, including general, statutory,
   2 enhanced, exemplary, treble, and/or punitive damages, as appropriate;
   3                L.    For an order finding that this is an exceptional case, and awarding
   4 Plaintiff’s reasonable attorney’s fees according to proof;
   5                M.    For an order awarding Therabody its costs of court; and
   6                N.    For such other and further relief as the Court may deem just and proper.
   7
   8                                    DEMAND FOR JURY TRIAL
   9                Plaintiff demands trial by jury on all issues so triable.
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  11
       DATED: January 27, 2022                     JEFFER MANGELS BUTLER &
  12
                                                   MITCHELL LLP
  13                                               STANLEY M. GIBSON
                                                   GREGORY S. CORDREY
  14
                                                   ROD S. BERMAN
  15                                               JOSEPH J. MELLEMA
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  18                                               By:         /s/ Gregory S. Cordrey
  19                                                             GREGORY S. CORDREY
                                                         Attorneys for Plaintiff THERABODY,
  20                                                     INC.
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